     Case 2:15-cv-09692-PSG-E Document 103 Filed 06/09/17 Page 1 of 3 Page ID #:681
       


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     Case 2:15-cv-09692-PSG-E Document 103 Filed 06/09/17 Page 2 of 3 Page ID #:682
       


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 9                        UNITED STATES DISTRICT COURT
10                       CENTRAL DISTRICT OF CALIFORNIA
                               WESTERN DIVISION
11
12 Consumer Financial Protection       CASE NO. 2:15-cv-09692-PSG(Ex)
   Bureau,
13                                     (consolidated for pretrial purposes with Case
14          Plaintiff,                 Nos. 2:16-cv-02724-PSG(Ex) and 2:16-cv-
                                       02725-PSG(Ex))
15 v.
16                                     STIPULATION FOR ENTRY OF
   D and D Marketing, Inc., d/b/a      PROTECTIVE ORDER FOR
17 T3Leads, et al.,                    CONFIDENTIAL INFORMATION
18
        Defendants.
19
20         Plaintiff Consumer Financial Protection Bureau (the “Bureau”) and
21 Defendants D and D Marketing d/b/a T3Leads (“T3”), Marina Demirchyan, Grigor
22 Demirchyan, Dmitry Fomichev, and Davit Gasparyan (a/k/a David Gasparyan)
23 stipulate to and request entry of the accompanying proposed protective order for
24 confidential information. See Court Order requiring submission of stipulated or
25 alternative proposals, at ECF No. 89.
26
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          STIPULATION FOR ENTRY OF PROTECTIVE ORDER FOR CONFIDENTIAL INFORMATION 
     Case 2:15-cv-09692-PSG-E Document 103 Filed 06/09/17 Page 3 of 3 Page ID #:683
       


 1 Dated: June 9, 2017
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 3 Respectfully submitted,
 4
 5 Consumer Financial Protection Bureau          Soltman, Levitt, Flaherty & Wattles LLP
 6
 7 /s/ Barry E. Reiferson……………………............   /s/ Thomas Rittenburg…………………….............
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13 Dicker LLP
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15 /s/ Herbert P. Kunowski……………………........      /s/ Abraham J. Colman……………………............
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18 T3Leads; Grigor Demirchyan; and              Davit Gasparyan, a/k/a David Gasparyan
19 Marina Demirchyan
       
20
      Attestation Pursuant To Local Rule 5-4.3.4
21
22 I attest that all other signatories listed, and on whose behalf the filing is submitted,
   concur in the filing’s content and have authorized the filing of this document.
23
24 CONSUMER FINANCIAL PROTECTION BUREAU
25 /s/ Barry Reiferson…………………………..
26 Barry E. Reiferson (pro hac vice)
   Attorney for Plaintiff Consumer Financial Protection Bureau
27  
28
          STIPULATION FOR ENTRY OF PROTECTIVE ORDER FOR CONFIDENTIAL INFORMATION 
